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                 IN THE UNITED STATES DISTRICT COURT
                       OF DISTRICT OF DELAWARE

                               )
                               )
ROTHSCHILD DIGITALCONFIRMATION )
LLC,                           )
                               )
                Plaintiff,     )       CASE NO. 19-1109-MN
                               )
     v.
                               )
COMPANYCAM, INC.,              )
                               )
                Defendant.     )
                               )

DECLARATION OF DAVID A CHAVOUS IN SUPPORT OF ROTHSCHILD DIGITAL
 CONFIRMATION, LLC’S RESPONSE TO COMPANYCAM INC.’S SECTION 285
                 MOTION FOR ATTORNEYS’ FEES
   Case 1:19-cv-01109-MN Document 37 Filed 04/30/20 Page 2 of 3 PageID #: 487




 I, David A. Chavous, declare as follows:

        1.      I am lead counsel of record for Plaintiff Rothschild Digital Confirmation, LLC. I

 am admitted to practice law in the state and federal courts of Massachusetts, the Federal District

 Court for the District of Colorado, and the United States Patent and Trademark Office. I was

 admitted pro hac vice in this matter on February 18, 2020.

        2.      I have personal knowledge of the facts set forth in this Declaration and am

 competent to testify as to the contents of this Declaration if required. I am over the age of 18.

        3.      On March 11, 2020, this Court held a telephonic hearing regarding motions to

 dismiss filed by some of the Defendants in the consolidated case. This Court indicated during

 that hearing its intention to file an order finding the claims invalid under Section 101. On March

 19, 2020, Rothschild filed a notice of voluntary dismissal of the action against Defendant.

        4.      Attached hereto as Exhibit 1 is a true and accurate copy of the Amicus Curiae

 Brief of the Honorable Paul R. Michel (Ret.) As Amicus Curiae In Support Of Petitioners,

 November 1, 2019, filed in Athena Diagnostics, Inc. v. Mayo Collaborative Services, Inc., No.

 19-430 (2019), petition for writ of certiorari denied January 13, 2020.

        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.



Dated: April 30, 2020
                                                   /s/ David A. Chavous_____
                                                      David A. Chavous




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                                 CERTIFICATE OF SERVICE

        I, Stamatios Stamoulis, hereby certify that on April 30, 2020, this document was served
on the persons listed below.


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       Attorneys for Defendant




                                                           /s/ Stamatios Stamoulis _______




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